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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 DYNAMIS ENERGY LLC d/b/a                    §
 UNITED ENERGY SERVICES,                     §
                                             §
       Plaintiff,                            §
                                             §
                                                 CIVIL ACTION NO. _______________
 v.                                          §
                                             §
 US ENERGY SOLUTIONS, INC. and               §
 SERGHEI BUSMACHIU,                          §
                                             §
       Defendants.                           §


                      INDEX OF STATE COURT DOCUMENTS




      1.     11/19/2019          Plaintiff’s Original Petition

      2.     12/02/2019          Plaintiff's Request for Service on Defendants

      3.     12/05/2019          Citation Issued for Serghei Busmachiu

      4.     12/05/2019          Citation Issued for US Energy Solutions

      5.     12/16/2019          Return of Service for Serghei Busmachiu

      6.     12/16/2019          Return of Service for US Energy Solutions

      7.     01/07/2020          Dismissal for Want of Prosecution




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                                                                                                                        DALLAS COUNTY
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                                                                                                                        DISTRICT CLERK




DYNAMIS ENERGY LLC D/B/A
                                                  NOW
                                         CAUSE No_DC-1

                                                          §
                                                              9-1   8533

                                                                        IN   THE DISTRICT COURT
                                                                                                        Christi      Underwood




UNITED ENERGY SERVICES,                                   §

                                                          §
         PLAINTIFF,                                       §

                                                          §
V.                                                        §             0F DALLAS COUNTY, TEXAS
                                                          §
US ENERGY SOLUTIONS, INC. AND                             §
SERGHEI BUSMACHIU,                                        §
                                                          §
         DEFENDANTS.                                      §            A-14    JUDICIAL DISTRICT


            PLAINTIFF’S ORIGINAL PETITION AND APPLICATION FOR INJUNCTIVE RELIEF


         Plaintiff   Dynamis Energy LLC          d/b/a United   Energy Services    (“Plaintiff’ or
                                                                                                0r   “UES”) ﬁles

this Original Petition       and Application       for Injunctive Relief against       Defendants    US   Energy

Solutions, Inc.      (“US Energy Solutions”) and Serghei Busmachiu (“Busmachiu”)                     (collectively


“Defendants”).


                                    I.       DISCOVERY CONTROL PLAN

         1.         Pursuant to   TEXAS RULE 0F
                                             OF CIVIL PROCEDURE                                       to conduct
                                                                             190.3, Plaintiff intends t0


discovery under a Level 2 Discovery Control Plan.


                                                  II.     PARTIES

         2.         Plaintiff is a limited liability    company     that conducts business in Dallas      County,


Texas.


         3.         US   Energy Solutions   is   a Pennsylvania corporation      whose home ofﬁce address         is



1080 N. Delaware Avenue #511, Philadelphia, Pennsylvania 19125.                       US   Energy Solutions has

engaged in business         activities in   Texas including, but not limited         to, the transactions
                                                                                     t0,                     with


Plaintiff giving rise to this suit. Pursuant to
                                             t0 the             agreement in     issue,   US   Energy Solutions

contractually agreed that         “Any                                    of this
                                                or proceeding arising out 0f
                                         action 0r                                          Agreement     will be


litigated     in                               of Texas.” According to
                   courts located in the state 0f                   t0 public corporate records


PLAINTIFF’S ORIGINAL PETITION AND APPLICATION           FOR INJUNCTIVE RELIEF                             PAGE   1
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maintained by the Texas Secretary of State’s office, US Energy Solutions has not registered to do

business in Texas and does not maintain a designated agent for service of process in Texas.

Accordingly, it may be served with process through the Texas Secretary of State pursuant to

§ 17.045(a) of the TEXAS CIVIL PRACTICE & REMEDIES CODE. A copy of the citation and petition

may be forwarded to Defendant at the above-referenced home office address.

       4.     Busmachiu is an individual believed to be residing in Philadelphia, Pennsylvania

and may be found at his home office address at 1080 N. Delaware Avenue #511, Philadelphia,

Pennsylvania 19125. Busmachiu has engaged in business and intentional tortious conduct with

foreseeable injurious effects in this state. Plaintiff’s claims arise out of those transactions.

Busmachiu does not maintain a regular place of business or a designated agent for service of

process in Texas. Accordingly, he may be served with process through the Texas Secretary of

State pursuant to § 17.044(b) of the T EXAS CIVIL PRACTICE & REMEDIES CODE.

                               III.   JURISDICTION AND VENUE

       5.     Subject matter jurisdiction over this case is proper because the amount in

controversy exceeds the minimum jurisdictional limits of the Court. This Court has personal

jurisdiction over Defendants pursuant to the agreement in issue, by which US Energy Solutions

contractually consented to litigating in Texas courts for purposes of resolving any dispute, and

because the claims asserted against Busmachiu are intertwined with, and dependent upon, the

contract with US Energy Solutions – a company that Busmachiu owns, controls, and uses

deceptively for his own personal benefit. Venue is proper in this district pursuant to T EX. CIV.

PRAC. & REM. CODE § 15.002(a)(1).

       6.     Plaintiff seeks estimated aggregate monetary relief of more than $200,000 but less

than $1,000,000 (including damages of any kind, penalties, costs, expenses, pre-judgment



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interest, and attorney fees). Plaintiff reserves the right to amend this pleading to seek other or

additional relief as discovery progresses.

                                             IV.    FACTS

        7.      Plaintiff is a marketing and sales company that works with businesses and

consumers in Texas and other territories to lower their overall cost of energy and

telecommunication services.

        8.      US Energy Solutions is a corporation – on information and belief based on

Busmachiu’s conduct and representations and statements made by Busmachiu during the course

of the parties’ business relationship – is exclusively owned and controlled by Busmachiu.

Busmachiu, through US Energy Solutions, provides or provided marketing and sales services on

behalf of businesses such as Plaintiff.

        9.      Plaintiff entered into a Direct Sales Agreement (“Agreement”) with US Energy

Solutions dated August 29, 2018. US Energy Solutions agreed to provide marketing and sales

services on behalf of Plaintiff. Busmachiu personally negotiated and signed the Agreement for

US Energy Solutions.

        10.     The parties agreed that “Any action or proceeding arising out of this Agreement

will be litigated in courts located in the state of Texas.”

Agreement at § 15.

        11.     The Agreement requires US Energy Solutions:

                a.      to use best efforts to market and sell services on behalf of UES on a full-
                        time basis in the Philadelphia, PA Territory;

                b.      to refrain from engaging in any business activities that conflict or interfere
                        with US Energy Solutions’ performance of its duties to UES;

                c.      to refrain from any activities competitive with or similar to UES’ business
                        or any product or service offered by UES; and


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               d.      to promote and preserve the business and business opportunities of UES
                       and the goodwill of its customers, clients, suppliers, and other business
                       relationships.

Agreement at § 2.1.

       12.     The Agreement further prohibits US Energy Solutions – and its affiliates,

employees, and agents such as Busmachiu – during the Term of the Agreement and for a period

of one year after any termination, from competing with UES; working directly for or on behalf

of any UES supplier; soliciting any UES teams, contractors, or subcontractors to leave UES; or

soliciting UES clients to purchase competitive services or products. Agreement at §§ 5.2 and 5.3.

       13.     Defendants breached and tortuously interfered with the Agreement and with

Plaintiff’s existing contacts and business relationships by, among other things, directly

competing with Plaintiff in violation of the non-competition and non-solicitation restrictions set

out in Section 5 of the Agreement — restrictions which remain in place during and for one-year

after any termination of the Agreement. Further, Defendants are improperly using and disclosing

Plaintiff’s proprietary information to assist their competitive activities.

       14.     US Energy Solutions failed to perform under the Agreement.

       15.     Plaintiff performed, tendered performance of, or was excused from performing its

contractual obligations.

       16.     All conditions precedent to recovery sought herein have been met or have been

waived by Defendants.

                                     V.      CAUSES OF ACTION

                                      BREACH OF CONTRACT

       17.     Plaintiff incorporates the foregoing paragraphs as though fully set forth herein.

       18.     By reason of the foregoing acts or omissions, US Energy Solutions breached the

terms of its Agreement with Plaintiff. Plaintiff requests that the Court award its actual and

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benefit of the bargain damages due to the breaches of the Agreements. As of the date of suit,

Defendant’s breaches have given rise to damages in an amount in excess of the minimum

jurisdictional limits of this Court, plus pre-judgment interest, reasonable and necessary attorneys’

fees, and costs of court, for which amount Plaintiff now sues US Energy Solutions.

             ALTER EGO / SECTION 21.223 TEXAS BUSINESS ORGANIZATIONS CODE

       19.     Busmachiu used US Energy Solutions deceptively for purposes of the transactions

with Plaintiff in issue for his own direct personal benefit, and therefore, is personally liable for

US Energy Solutions’ obligations arising out of the Agreement.

          TORTIOUS INTERFERENCE WITH EXISTING AND PROSPECTIVE CONTRACTS

       20.     Plaintiff incorporates the foregoing paragraphs as though fully set forth herein.

       21.     Plaintiff had existing contracts and prospective business relationships with US

Energy Solutions as well as third-party sales agents, contractors, and existing and prospective

customers. Defendants were actually and/or constructively aware of these contracts and

relationships by virtue of their engagement with Plaintiff. By their wrongful conduct described

above, Defendants willfully and intentionally and with malice interfered, without privilege or

justification, with those contracts and relationships. As a direct and proximate result of

Defendants’ tortious interference, Plaintiff has suffered and is entitled to recover actual damages,

together with described below pre- and post-judgment interest and costs of suit.

                                      UNFAIR COMPETITION

       22.     Plaintiff incorporates the foregoing paragraphs as though fully set forth herein.

       23.     Defendants misappropriated and misused Plaintiff’s confidential information to

compete with Plaintiff for their own economic benefit. Defendants’ wrongful conduct is contrary

to honest practices in commercial matters and constitutes unfair competition. As a direct and



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proximate result of Defendants’ unfair competition, Plaintiff has suffered the damages described

herein.

                                      TEMPORARY INJUNCTION

          24.     Plaintiff requests after notice and hearing a temporary injunction providing that

Defendants, any affiliated persons or entities, and any third parties acting in concert with them or

at their instruction or request, be restrained and enjoined during the pendency of this case from

directly or indirectly (a) competing with UES; (b) working directly for or on behalf of any UES

supplier; (c) soliciting any UES sales agents, teams, contractors, or subcontractors to terminate or

alter their relationship or compete with UES; (d) soliciting UES clients to purchase competitive

services or products; or (e) using, disclosing, transferring, concealing, manipulating or

destroying any trade secrets or confidential and proprietary business information learned or taken

from Plaintiff.

          25.     If temporary injunctive relief is not granted, Plaintiff will continue to suffer

immediate and irreparable harm for which there is no adequate remedy at law. In all probability,

Defendants will continue to compete with Plaintiff unfairly, using its sales agents and

confidential information, in direct violation of their legal duties to Plaintiff. There is a substantial

likelihood that Plaintiff will prevail on the merits at trial. The requested injunctive relief is

narrow in scope and will preserve the status quo until trial of this cause.

                                       PERMANENT INJUNCTION

          26.     Plaintiff requests that, upon final trial of this cause, the Court enter a permanent

injunction prohibiting Defendants or any related entity or anyone acting in concert with them or

at their instruction or request from the conduct described in the prior section permanently (with

regard to any use or disclosure of Plaintiff’s confidential information) and for the contractually-



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required one-year restricted non-competition and non-solicitation period. If a permanent

injunction is not entered, Plaintiff will continue to suffer irreparable harm for which there is no

adequate remedy at law. In all probability, Defendants will continue the wrongful course of

conduct giving rise to the claims asserted herein. The requested injunction is reasonable in time

and scope.

                                           PUNITIVE DAMAGES

         27.    Defendants’ wrongful conduct was intentional, malicious, unjustified and in

blatant disregard of Plaintiff’s rights. Defendants engaged in such conduct with the intent to

injure Plaintiff and the conscious desire to profit at Plaintiff’s expense and detriment. To punish

such action and to deter others from similar wrongdoing, Defendants should be assessed punitive

damages in an amount to be determined by the trier of fact.

                                           ATTORNEYS’ FEES

         28.    As a result of Defendants’ wrongful conduct described above, Plaintiff was forced

to retain the undersigned counsel in relation to this action. Pursuant to Section 10 of the

Agreement and TEXAS CIVIL PRACTICE & REMEDIES CODE §§ 38.001, Plaintiff seeks an award of

reasonable and necessary attorneys’ fees and costs incurred through trial and appeal of this

cause.

                                     VI.     PRAYER FOR RELIEF

         For these reasons, Plaintiff asks the court to:

                (i)     cite Defendants to appear and answer this suit;

                (ii)    order Defendants to appear and show cause and, on such hearing, enter a
                        temporary injunction against Defendants as described above; and

                (iii)   on final trial of this cause, enter judgment in Plaintiff’s favor and against
                        Defendants, jointly and severally, for permanent injunctive relief, actual
                        and punitive damages, attorneys’ fees, pre- and post-judgment interest,
                        costs of court and any other relief to which Plaintiff may be justly entitled.

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                                                      Respectﬁllly submitted,


                                                      /s/   William D.   Dunn
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                                                      ddunn@dunnsheehan.com
                                                      Blake J. Brownshadel

                                                      StateBar No. 24073969
                                                      bbrownshadel®dunnsheehan.com
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                                                      3400    Carlisle Street, Suite   200
                                                      Dallas, Texas      75204
                                                      Phone: 2 14-866-0077
                                                      Fax: 214-866-0070


                                                      ATTORNEYS FOR PLAINTIFF




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                               DIRECT SALES   AGREEMENT


                                    BY AND BETWEEN

                      Dynamis Energy LLC dba United Energy Services

                                          AND

                                       COMPANY

                                  US Energy   Solutions, Inc.


                                    EFFECTIVE DATE:

                                  Aug 29, 2018




                           Confidential and Proprietary
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 THIS DIRECT SALES  AGREEMENT (this ”Agreement”) made as of the Augmm              day of               (”Effective Date”)

 by and between  Dynamis   Energy LLC dba United Energy Services, a Texas limited liability company (”Comgany”) and
 US Energy Solutions Inc. a Philadelphia Corporation (limited liability company /corporation) (”Direct Seller”). Company
 and Direct    Seller are hereinafter individually referred to as a ”a_rty”                                  and    collectively as the ”Parties.”


                                                                                  RECITALS


 WHEREAS, Company                 is    in   the business of electricity procurement and wishes to engage Direct Seller to generate
 qualified enrollments (the ”Sa_|es") for the                    program          listed in    Schedule A, as developed, administered, offered, and
                                                                                                    ”
 modified by Company in its discretion from time to time (the     rogram”), to end-user commercial and residential
 customers (”Customer” or ”Customers”) in the non-exclusive territory designated by Company here;


 WHEREAS,       Direct Seller desires to market the Progra m,                      and to engage              in   the business of conducting service solicitations
 on   a direct sales/marketing basis,                 generating qualified enrollments, and providing such other services as                                                     may be
 assigned to Direct Seller by                Company      during the     Term      (collectively,            the ”Services”), directly and through a network of
 sales representatives, including                 any sub-agents and their respective employees and sales representatives                                                 (collectively
 the "Network”); and


 WHEREAS, Company                 desires to      engage Direct          Seller   on an independent contract                         basis       and allow    it    to provide the
 Services,    and Direct      Seller has        agreed t0 provide the Services to generate sales for the Program, at                                        all   times subject to
 the terms and conditions contained                   in this   Agreement.


                                                                                 AGREEMENT

 NOW THEREFORE, in consideration of the premises, the mutual covenants and agreements contained herein and other
 good and valuable consideration, the receipt and sufficiency of which each Party hereby acknowledges, the Parties
 covenant, undertake and agree, each with the other, as follows:


 1.           Relationshig of Parties


 Company hereby   authorizes Direct Seller on a non—exclusive basis to generate Sales for the Program through the
 Network within such parts of the geographic area serviced by Company set forth in Schedule B, as such geographic area
 may be expanded or modified from time-to-time by Company in its discretion (the ”Territory”).

       1.1    The    Parties agree that their relationship                  is   one of independent contracting                          parties    and that       this   Agreement
              does not create a general agency, joint venture, employment relationship, partnership or franchise between
              them. No Party has the authority to make business decisions                                          for,   execute agreements          for,   or otherwise bind
              the other Pa rty, to respond on the other Party’s behalf or                               in   any way represent            itself   as having decision making
              authority beyond the rights set forth herein, or to represent the other Party                                               in   any way without the Party’s
              express prior written approval and authority.                             Direct Seller shall be an independent contractor for                                          all

              purposes, including, without limitation, federal, state and local taxation. Direct Seller shall have                                                        full   control
              of   its   activities     and the   right to exercise       independentjudgment as to the time,                              place,   and manner of            soliciting

              Sales      and providing Services for the Program and otherwise carrying out the provisions of                                                      this    Agreement,
              subject to applicable laws and regulations. Except as otherwise expressly provided herein, Direct Seller shall
              be solely responsible for             all   expenses or obligations incurred by Direct                         Seller or     its   Network     in   connection with
              performing          its   obligations hereunder and shall not incur any indebtedness                                   on behalf of Company.


       1.2    Company         expressly reserves the            right,   without obligation or                 liability    to Direct Seller, to directly or indirectly
              market and          sell   the Program and any other products and services                              in   the Territory, whether though Company’s
              own        stores     or       representatives     or through           others,           including,         but     not    limited     to,    other authorized
              representatives, dealers, resellers, distributors, agents, sub-agents, and retailers.


 2.           Obligations of Direct Seller


       2.1.    During the Term of this Agreement, Direct                         Seller, directly            and/or through the Network,                shall      use best efforts
               to market and sale Services                 on behalf of Company on                  a fuII-time basis in the Territory.                 Direct Seller shall at
               all   times devote, and ensure that each                    member       of    its   Network devotes,                their respective         full   business time,
               attention,      and       efforts to such activities        on behalf of Company and                        shall   not / does not, directly or indirectly,




                              J;
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              engage       in    any other business                  activities that conflict or interfere                    with Direct Seller’s / Network’s performance
              of their respective duties under this Agreement, including but not limited to any activities competitive with
              or similar to Company’s business or any product or service offered by Company.                                                                    Direct Seller will ensure
              that   it   and        its   Network uses best                 efforts to (a)                       manner
                                                                                                   perform the Services                in a       professional and ethical
              consistent with the terms of this  Agreement and applicable laws, rules and regulations; (b) preserve and
              protect Company’s intellectual property, confidential and proprietary information and trade secrets; and (c)
              promote and preserve the business and business opportunities of the Company and the goodwill of its
              customers, clients, suppliers, and other business relationships.


      2.2.    Direct Seller shall inform the                         Network of          all   of the obligations and requirements imposed by                                   Company and
              by this Agreement, and shall use best efforts to ensure that the Network complies with                                                                    all   such obligations
              and requirements.                  Direct Seller shall further use diligent efforts to                                   (i)   ensure that          its   Network and each
              member           thereof complies with applicable laws and regulations and does not misrepresent the Program or
              otherwise modify or expand the claims, representations or warranties provided by                                                                  Company         in    connection
              with the Program;                (ii)   ensure that the Network                     is   provided with sufficient information and resources to                                     fully

              educate the Network with the Services, Program, and the rates and promotions available to Company’s
              prospects and customers; and                               (iii)   cause the Network to provide professional and efficient service to the
              public      and do nothing that would tend to                              discredit, disparage, or in             any way          reflect adversely           upon Company.

      2.3.    Direct Seller shall strictly adhere to                              Company’s branding requirements                            as   appended to the Agreement or
              provided          in    writing by       Company to                          from time to time.
                                                                                 Direct Seller


 3.          Obligations of                Comgany

      3.1    Company will from time to time provide Direct Seller and the Network with such support services and updated
             Program information as may be determined by Company in its discretion, to enable Direct Seller and the
             Network to               effectively,          knowledgeably and professionally                           sell    the Program and provide Services                            in     the
             Territory. This information                           may   include periodic updates regarding changes to the Program or the Territory.


      3.2    Reports       -
                                Company          will       from time to time provide Direct                           Seller reports, schedules                   and support for the
             marketing of the Program and provision of Services                                          in   such detail and format, and at such frequency and at
             such times as                 Company may determine                         in its   reasonable discretion.                 Such reports may include, without
             limitation, the following reports:


             3.2.1             Periodic reports defining particulars of order status to include Sales that are pending and/or have
                               been cancelled, including the reasons for any cancellation,                                        if   known            to   Company.

             3.2.2             Direct Seller shall have the right, for a period of ten (10) business days                                                    from the date of any report
                               of a rejection or cancellation of an order to appeal such finding t0                                               Company by            submitting written
                               reasons for            its   dispute.             Company       shall    research the reasons for dispute and determine                                      if    the
                               ”Cancelled” or ”Rejected" orders were cancelled correctly or incorrectly and report                                                              its   findings to
                               Direct Seller.          If   Compa ny determines that any orders were                              cancelled incorrectly,                 Company will            ta ke

                               reasonable corrective action, including payment of remuneration,                                                    if   any,   owed     in    connection with
                               such orders pursuant to the terms of this Agreement.


      3.3    Taxes   -    Compa ny shall              not have any responsibility for any and                         all   taxes relating to Direct Seller’s or                  its   Network’s
             participation in the             Program              including, but not limited to              (i)   Direct Seller’s or Network’s                compensation or income
             under     this     Agreement; or             engagement or payment of compensation to employees, agents, or
                                                            (ii)   Direct Seller’s
             su bcontractors, or the Network. Direct Seller acknowledges and agrees that, as an independent contractor, the
             Company will not withhold federal income taxes, social security, Medicare, or any other taxes from payments
             due hereunder. Direct Seller shall remain solely responsible for payment of all federal, state, and local taxes,
             and for filing of all required tax returns and reports. The Company shall issue a Form 1099 to Direct Seller
             reporting         all   compensation as income.


 4.          Billing     and Payment


      4.1    Company           shall       pay fees to Direct Seller                in   accordance with and pursuant to the plan attached as Schedule A
             to this Agreement.                The fees earned by Direct                       Seller shall         be based on Sales, and Company                        shall   endeavor to




 Initials                  /
                                 _L  as                              Confidential and Proprietary                                                                                                   3
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            pay Direct Seller any compensation owed under      this Agreement for properly documented Sales by Direct

            Seller within ten (10) business days afterCompany’s actual receipt of payment from the energy provider for
            those Sales. Compa ny will pay any payments due to Direct Seller electronically via ACH, provided Direct Seller
            provides Company with all pertinent banking information to facilitate electronic bank payment. Direct Seller
            may dispute, in writing, within ten (10) business days of receipt of a commission statement from Company,
            any payment documented on such statement. Direct Seller’s failure to notify Company in writing within the
            10-day period as to any disputed item shall constitute agreement to the validity of such payment. If the total
            or any part of the disputed fee are determined by both Parties to be incorrect: a)                                         if   the disputed fee has
            already been paid by the Company, then a                       new      invoice will be generated within three (3) business days by
            Direct Seller reflecting the correct fee              and the disputed fee amount               will   be credited to the        Compa ny’s account
            via   ACH; or   if   the disputed payment           is    not yet due, the Direct Seller          will   generate a       new    invoice within three

            (3)   business days reflecting the corrected                amount and         said invoice will be          due within two      (2)   business days of
            receipt by     Company.         If            determined by both Parties to be correct: a) if the disputed
                                                 the total disputed fee        is

            fee has already been paid by the Company, then no action is necessary by either Party; or if the disputed
            payment is not yet due, the Company will pay the payment on the later of the due date or within ten (10)
            business days of resolution of the disputed amount.


            Restrictive     Covenants


      5.1   Relationship between Company and Direct Seller / Network. Direct Seller recognizes and agrees that                                                 its

            engagement by Company is one of the highest trust and confidence because of the following:


                         (a)           Company         has    made and
                                                                 will make a significant investment in engaging and preparing

                                       Direct Seller        Network to market and sell the Program; will provide substantial
                                                            and   its

                                       resources that Direct Seller and Network will use; has at substantial cost and effort built
                                       an established supplier and client base and reputation upon and from which Direct Seller
                                       and Network will be relying and benefitting; and has invested significant resources in
                                       advertising the Company and Program and developing goodwill;


                         (b)           Direct Seller        and Network    will become familiar with                 proprietary information and aspects
                                       of the business of             Company and its suppliers and                  clients during the period of Direct
                                       Seller’s  engagement with Company, which information Direct Seller/Network did not
                                       possess prior to engagement by Company; and certain information of which Direct
                                       Seller/Network will gain knowledge of is proprietary and confidential information which
                                       is of special and peculiar value to Company, which knowledge Direct Seller and Network

                                       did not and would not possess prior to engagement by Company; and if any such
                                       proprietary and confidential information were imparted to or became known by any
                                       person, irreparable hardship, loss, injury and damage would result to Company, the
                                       measurement of which would be difficult if not impossible to ascertain.

            Direct Seller therefore agrees that               it is   necessary for    Company to        protect         its   business from such damage,
            and Direct     Seller further agrees that the following                  covenants constitute            a   reasonable and appropriate
            means, consistent with the best interest of both Direct                         Seller   and Company to protect Company against
            such damage and          will   be binding upon Direct Seller as provided                  in this     Agreement.


      5.2   Non-Competition. Direct               Seller,   on behalf of    itself   and   its   Network,   affiliates,        sub-agents, and their respective
            sales representatives,          employees, contractors, and agents                    (collectively,     the ”Restricted Parties"), grants the
            following restrictive covenant (”Restrictive Covenant”) to                           Company.

            5.2.1        For a period of time beginning on the Effective Date and continuing for a period of one                                       (1)   calendar
                        year after any termination of this Agreement (”Restricted Period”), the Restricted Parties covenant
                        and agree that they            will not, in      or within 100 miles of the Territory (”Restricted Area") directly or
                         indirectly    compete with Company                 including, but not limited to, offering, promoting, marketing, or
                        selling    products or services that are competitive with or substantially similar to the Services or the
                         Program, or to any other product or service that                          may be     offered or provided by               Company     during
                        the Restricted Period (collectively, the ”Restricted Activities”).                                 During the Restricted Period, the
                         Restricted Parties will not           engage     in   Restricted Activities     in   the Restricted Area directly or indirectly,
                        whether as an            individual, organization, corporate or business entity, partner, associate, contractor,




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                       employee, sales representative, or as                a stockholder, officer, director,                 member, manager,           partner,
                       affiliate,    agent, or representative of any Person so engaged. Nor                           will   the Restricted Parties        in   any
                       capacity during the Restricted Period, own, manage, engage                          in,   operate, control, work for, consult
                       with, render services for, lend or license Restricted Parties’                     names         or trademarks to, or otherwise
                       participate        in   any business conducting Restricted         Activities in the Restricted Area.



             5.2.2     If      a court   should hold that the Restricted Period, Restricted Activities and/or the Restricted Area                                 is

                       unenforceable, then to the extent permitted by law the court                                  may     prescribe a duration for the
                       Restricted Period and/or a radius or area for the Restricted Area that                                is   reasonable and the parties
                       agree to accept such determination subject to their rights of appeal. Nothing herein stated                                        will    be
                       construed as prohibiting Purchaserfrom pursuing any other equitable remedy or remedies available
                       for such breach or threatened breach, including recovery of                    damages from                  Seller or injunctive relief.


             5.2.3     Should the Restricted Parties be             in   violation of this Restrictive         Covenant then the Restricted Period
                       will      be extended for a period of time equal to the period during which said violation or violations
                       occurred.         If   Purchaser seeks injunctive      relief   from   said violation in court, then the running of the
                       Restrictive Period will besuspended during the pendency of said proceeding, including a|| appeals
                       by the Restricted Parties. This suspension will cease upon the entry of a final judgment in the
                       matter.


       5.3   Non-Solicitation. For purposes of this Section, ”Restricted Supplier”                        means any and              a||   energy, electricity or
             power   suppliers, providers, wholesalers, manufacturers, or sellers with                           whom         a Restricted Party        works or
             maintains a relationship with           in   any capacity on behalf of Company or            in   connection with the Program or this
             Agreement. ”Restricted Client” means any prospective or actual client or customer with whom a Restricted
             Party works or communicates or about whom a Restricted Party receives confidential information from
             Company      in   connection with this Agreement or the Program.                    During the Restricted Period, the Restricted
             Pa rties covenant and agree not to, directly or indirectly, on behalf of themselves or any other person or entity:


             5.3.1     Accept employment from, work                 in   any capacity for or on behalf           of,   or provide competitive services
                       or assistance of any nature, to any Restricted Supplier, or                        solicit      or induce, attempt to            solicit   or
                       induce, or assist any Restricted Supplier to terminate or alter                         its    relationship with           Company, or to
                       market or          sell   products or services outside of        its   relationship with          Company            in   a manner that is

                       competitive with Company;


             5.3.2     solicit     or induce, or attempt to solicit or induce any sales representative, employee, contractor,
                       agent, or sub-agent engaged by    Company, or engaged by Direct                           Seller to provide Services             on behalf
                       of Company, to discontinue providing Services or participating                            in   the Program, or to terminate or
                       alter their relationship with the Company; or



             5.3.3     solicit     or induce, or attempt to solicit or induce, any Restricted Client t0 purchase or acquire
                       competitive goods or services; discontinue participating                      in   the Program or acquiring Services; or
                       otherwise terminate or alter their client relationship with Company.


 5.3         Specific Performance.            Any breach    0f the warranties and covenants contained                   in this     Section 5 will be subject
 to specific performance by temporary as well as        permanent injunction or other equitable remedies by a court of
 competent jurisdiction. The Parties acknowledge that damages at law may be an inadequate remedy. To the extent
 permitted by applicable law, the Parties agree that the appropriate amount for securing or posting of bond in
 connection with obtaining such injunctive or equitable relief is $100.00. The obtaining of any such injunction will not
 prevent the obtaining Party from also seeking and obtaining any damages incurred as a result of such breach, either
 prior to or after obtaining such injunction. If any court of competent jurisdiction determines that a Party has breached

 any of the foregoing covenants, then that Party will pay all reasonable costs of enforcement of the foregoing covenants
 including, but not limited to, court costs and reasonable attorneys’ fees, including such costs and fees through any
 appeals.




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 6.          Representations and Warranties


       6.1   Direct Seller hereby represents                 and warrants to Company as follows:


             6.1.1        Direct Seller      is   duly organized, validly existing and                        in   good standing under the laws of the                  state of
                          Pennsylvania;


             6.1.2        Direct Seller has         all   the requisite corporate power and authority to enter into this Agreement and
                          to carry out and perform                  its   obligations under the terms of this Agreement; and


             6.1.3        The execution, delivery and performance of and compliance with this Agreement does not and wi||
                          not conflict with, violate, or constitute a default under any of Direct Seller’s organizational
                          documents or any other contract, agreement, instrument, order, statute, law, rule or regulation
                          applicable to Direct Seller or Company in any territory or state where Direct Seller shall conduct
                          business.


             6.1.4        This Agreement,           when executed by               Direct Seller, will constitute a legal, valid                     and binding obligation
                          of Direct Seller enforceable against Direct Seller                           in     accordance with            its   terms.


             6.1.5        Direct Seller shall obtain            and maintain,          at   its   own    expense,           all   relevant permits, licenses and bonds
                          required to furnish the Services. Additionally, Direct Seller shall provide                                               Company     with copies of
                          any such permits, licenses or bonds upon request.


             6.1.6        Direct Seller’s policies           and operating procedures                   shall       comply with         all    federal, state   and   local laws,

                          regulations and rules, applicable to           Company and to the products and services to be sold by Direct
                          Seller   pursuant to this           Agreement. These may include, without limitation and only to the extent
                          applicable to the Services to be provided hereunder                                      (i)   the California        Home     Solicitation Sales law

                          (Cal. Civ.   Code § 1689.5    and similar laws of any other applicable state, (ii) the Federal Trade
                                                               et. seq.)

                          Commission’s Telemarketing Sales Rules (16 C.F.R. Part 310), (iii) the Customer Proprietary Network
                          Information rules contained                     in   the Communication Act of 1934, as                         amended         (47 U.S.C. § 222 and
                          its   implementing regulations, 47                    C.F.R. §   64.2001      et. seq.), (iv)           the privacy rules governing cable and
                          high speed internet customers’ information (47 U.S.C. § 551), and                     (v) any other laws, regulations

                          and     rules specific to the products                 and services to be sold by Direct Seller pursuant to this
                          Agreement. Vendor                shall,    every thirty (30) calendar days, prior to calling any number on behalf of
                          Company, Vendor                 shall verify         each number to be called against the Federal and applicable State
                          DNC     Register as well as any internal do-not-call                         list   maintained by             Company and Vendor.

       6.2   Company hereby         represents and warrants to Direct Seller as follows:


             6.2.1        Company       is   duly organized, validly existing and                        in    good standing under the laws of the                      state 0f
                          Texas;


             6.2.2        Company       has   all   the requisite corporate power and authority to enter into this Agreement and to
                          carry out and perform               its   obligations under the terms of this Agreement;


             6.2.3        The execution, delivery and performance of and compliance with this Agreement does not and will
                          not conflict with, or constitute a default under any of Company's organizational documents or any
                          other contract, agreement, instrument, order, statute, rule or regulation applicable to Company;




             7.           Use of Company's                Intellectual Property


 During the Term,       Company      grants to Direct Seller a limited, non-exclusive, revocable, royalty-free right and license to
 use     and         display       Company’s               name            and       logo         as          depicted             on         the       attached       Schedule
 C, solely   within the Territory and solely for generation of Sales for the Program,                                                   in    accordance with Company’s
 applicable guidelines that have been provided to Direct Seller.




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 For purposes of this Section      7, the term ”Marks” shall mean Company’s name and logo, and any and all trademarks,

 service marks,     domain names, trade names, insignias, symbols, logos or decorative designs, which Company may
 authorize by license or sublicense for Direct Seller’s use during the Term. A|| title to and the rights in the Marks and the
 associated goodwill are the exclusive property of Compa ny. Direct Seller agrees that its use of the Marks will not create
 any right, title, or interest in or to such Marks other than as set forth in this Agreement, and that all goodwill associated
 with such Marks, including any goodwill generated through Direct Seller’s use of the Marks,                                                                                will   belong and inure solely
 to the benefit of          Company.           Direct Seller covenants                      and agrees that                it   will       not    (1)   take any action or assist any third
 party   in   any action to contest or impair Company’s ownership                                                rights or dilute, tarnish, or infringe the                                   Marks;          (2) at   any
 time dispute or contest the                 right, title,          or validity of the Marks; 0r attempt to register or use any intellectual property,
 including any trademarks or service marks, confusingly similar to Marks. Direct Seller acknowledges that                                                                                       it    has no rights
 in   the Marks except those expressly granted under this Agreement or                                                      in a       subsequent written license agreement duly
 executed by Company; and that all other rights are reserved by Company. In using the Marks, Direct Seller will
 acknowledge Company’s ownership of the applicable Marks, including properly marking any communications,
 marketing materials, products or services;                                    will   comply with          all   reasonable conditions set forth                                   in   writing      from time to
 time by      Company with               respect to style, appearance, and                           manner         of use of the Marks; and, prior to a                  use of any of       new
 the Marks,        will   submit to Company for approval representative samples of                                                     all     proposed materials bearing one or more
 of the Marks; and will cooperate                       in    good    faith with         Company to correct and/or remedy inappropriate uses of the Marks.
 In   connection with        its   use of any ofthe Marks, Direct Seller agrees to                       make proper use ofthe ”®” sym bol or other proper
                                                                                                 ”TM”
 notice to indicate a federally registered mark, and the                                                symbol to indicate an unregistered mark. Upon receiving
                                                                                  ”TM”
 notice that the use of a registration notice or           symbol is incorrect or otherwise deemed unacceptable to Company,
 Direct Seller will        promptly modify such uses to address Company’s reasonable objections.


 8.     Confidentiallnformation


        8.1    All   proprietary technical, procedural, training, business, and Network information disclosed by one Party (the
                                                                                                 ”
               ”Disclosing Part1”) to the other of                              them     (the        eceiving Party”)                in   the course of this Agreement                                in   written or
               other tangible or electromagnetic form                                    shall   be the confidential information (”Confidential Information”) of
               Disclosing Party            and   shall        remain the property of Disclosing Party.                                    In   addition,         if   in    the course of Direct Seller's
               performance ofthis Agreement,                               a    Customer has applied for an Enrollment through Direct                                                    Seller,      the fact that
               a   Customer has applied for the program and the                                         identity, nature                  and scope of the Enrollment                                (”       leication
               Information”) shall be the Confidential Information and property of Company.                                                                                  If    in   the course of Direct
               Seller's     performance of                   this   Agreement            a contact or            communication between Direct                                       Seller    and a Customer
               relates to the Enrollment,                           all    of Customer’s information obtained                                      by Direct Seller                      in   that contact or
               communication (”Customer Supplied Information”)                                                   shall   be the Confidential Information of Company and
               shall      be the property of Company.                                 Any Customer information produced, prepared,                                                      created, originated,
               developed, or acquired by Direct Seller under, or                                      in    connection with, the performance of this Agreement                                                     shall

               be the property of Company. Upon request by Company, Direct Seller shall disclose and return to                                                                                                Company
               any application information and Customer Supplied Information                                                          in       Direct Seller’s possession.


        8.2    Receiving Party             shall:      (i)   hold the Confidential Information of Disclosing Party                                                    in   confidence;         (ii)    not disclose
               such Confidential Information to anyone other than                                                 its   employees with                  a    need to know; and                        (iii)    use such
               Confidential Information solely                            in    connection with the performance 0f this Agreement. Upon termination or
               expiration of this            Agreement or upon written request of                                       Disclosing Party, whichever occurs earlier, Receiving
               Party shall return 0r destroy (and certify such destruction                                                      in    writing to Disclosing Party)                             all     Confidential
               Information of Disclosing Party.


        8.3    Notwithstanding the foregoing, the obligations imposed       in Sections 8.1 and 8.2 above shall not apply to

               information which:      was known to the Receiving Party prior to disclosure in the course 0f this Agreement;
                                                 (i)

               (ii) except for Customer Supplied Information, is rightfully received by the Receiving Party from a third party

               without restriction; (iii) is independently developed by the Receiving Party; or (iv) is or becomes publicly
               available through no fault of the Receiving Party. The obligations imposed in Sections 6.1 and 6.2 above shall
               not apply to any Confidential Information to the extent such information                                                                     is   required to be disclosed by the
               Receiving Pa rty pursuant to an order of a court or other governmental body (provided that the Receiving Party
               shall give, to        the extent not prohibited by law, the Disclosing Party prompt notice of any such order).


        8.4    The     Parties     acknowledge and confirm that they conduct public                                                  relations activities                   from time to time. Each of
               the Parties shall submit a written request outlining the use of the other Party’s                                                                           name and nature                 of services
               performed as reference                        in   the proposed public relations material and shall not                                                     utilize      any proposed public




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                    relations material without the written consent of the other Party.                                         Either Party,        upon written    notice,    may
                    revoke said authorization for use of                          its   name, allowing             for reasonable time to modify or                 change any
                    publication or usage              in collateral      from the point         in    time authorization        is   revoked.


 9.     Term and Termination

 This   Agreement               shall       be effective on the date         first      written above and, unless terminated by                      Company   in   accordance
 with the terms of this Agreement, shall remain                                  in               months thereafter (the ”M”). The Agreement
                                                                                      effect for 12                                                                           shall

 be automatically renewed for a one-year period at                                    the end of the term unless terminated in writing by a Party at                          least

 9O days prior to the expiration ofthe then-current Term, or otherwise terminated in accordance with the next sentence.
 Except as may be contained otherwise herein, this Agreement may also be terminated as follows: (a) upon the mutual
 written agreement of the Pa rties at any time; (b) by either Party                                       in     the event of a material breach by the other Party of
 this   Agreement that remains uncured                             thirty (30)   days after the breaching Pa rty’s receipt of written notice of the breach;
 (c)   by either Party               if   the other Party     is    unable to pay       its   debts as    clue,    or enters into or     files (or   has filed or   commenced
 against      it)   a petition, arrangement, action or other proceeding seeking relief or protection                                            under the bankruptcy laws
 of the United States or similar laws of the United States or any state of the United States; or (d) by                                                      Company      at   any
 time upon 3O days’ written notice to Direct                             Seller.



 The termination or expiration of             this Agreement shall not affect the obligations of either party to the other under

 existing orders issued                      Agreement prior to such termination or expiration. Following the termination of this
                                            under   this

 Agreement for             any reason, other than based on a breach of this Agreement or the willful misconduct of Direct Seller or
 its   employees, the Company                        shall   pay the Direct           Seller according t0 the              terms of Schedule A for Services rendered
 before the effective date of the termination. The Direct Seller acknowledges and agrees that no other compensation,
 of any nature or type, shall be payable hereunder following the termination 0f this Agreement, including residual
 payments.


 10.     Indemnification


                    (a)                   Direct Seller agrees for itself        and    its   Network to take        a||   necessary precautions to ensure compliance
 with applicable law and to prevent injury t0 any persons (including employees of Company) or                                                            damage     to property
 (including Company’s property) during the term of this Agreement, and shall indemnify, defend and hold harmless
 Company, its members, managers, officers, directors, shareholders, employees, representatives, insurers, attorneys,
 agents and assigns from any claim, liability, loss, cost, damage, fine, judgment, settlement or expense (including
 attorney’s fees and expert witness costs) resulting from or arising in any way out of injury (including death) to any
 person; damage to property; or otherwise arising in any way out of (i) any breach of any term or condition of this
 Agreement by Direct Seller; or (ii) any negligent act, error, or omission by, or the willful misconduct of Direct Seller or
 any    member            of   its   Network.


                    (b)                   Direct Seller further agrees to indemnify          and hold Company harmless from and against any and all
 claims,      demands,               liabilities,   damages,        costs, or     expenses (including without limitation attorney’s fees, back wages,
 liquidated damages, penalties or interest) resulting                                   from Direct       Seller’s failure to collect, withhold, or           pay any and       all

 federal or state taxes required to be withheld or paid by employers or employees, including, without limitation, any
 and    all   income       tax, social security,             and F.U.T.A. taxes.



 11.     Disclaimer of Warranties


 EXCEPT AS EXPRESSLY SET FORTH IN THIS AGREEMENT, COMPANY EXPRESSLY DISCLAIMS ALL REPRESENTATIONS OR
 WARRANTIES OF ANY     KIND, EXPRESS OR IMPLIED, INCLUDING WITHOUT LIMITATION THE WARRANTIES OF
 MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE AND THOSE WARRANTIES WHICH ARISE FROM TRADE,
 CUSTOM OR USAGE, TO THE FULLEST EXTENT ALLOWED BY APPLICABLE LAW.

 12.     Notice


         12.1 Each Party shall promptly notify the other Party                                  in    writing     upon discovering the occurrence of          (i) any adverse

                    claim or potential adverse claim related to the Services by any third party;                                             (ii)   any investigation by any
                    governmental authority as                  it   relates to the Services; or          (iii)   any suit or other     legal action relating to     the Services
                    or that      may impede          a Party’s ability to         perform       its   obligations under this Agreement.




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         12.2    All   notices, waivers,   and other communications required or permitted hereunder                    shall    be   in   writing and shall
                 be    deemed     to have been duly given    when     delivered by hand or dispatched (with reasonable evidence of
                 receipt) by telex, telegraph, or other     means    of electronic facsimile transmission, or three (3) days after being
                 sent by an internationally recognized overnight courier service, or five                (5)   days after being sent by prepaid
                 registered post addressed to the Party to      whom the         notice   is   intended to be given at the addresses specified
                 below:


                 To Compa ny:                      United Energy Services
                                                   8763   SW 27th    Ln, Suite   101
                                                   Gainesville, FL   32608
                 To    Direct Seller:              US Energy Solutions     Inc

                                                   Address       1080 N Delaware Ave #511Philadelphia, PA 19125

                                                   Address 2
                                                   Attention:
                                                   Tel:

                                                   Facsimile




 Or to such other address or addresses as either Party may from time to time designate by                             like notice.



 13.     Waiver, Modification, Cancellation


 Any waiver,           alteration, or modification 0f   any of the provisions of       this    Agreement, or    its   cancellation or replacement
 shall   not be valid unless     made in writing and signed by an authorized representative of Company and Direct Seller. No
 delay 0r failure         by Company or Direct Seller, as the case may be, in exercising any right under this Agreement, and no
 partial or single exercise of that right, shall constitute a          waiver of that or any other        right.



 14.     Insurance


 Direct Marketer will obtain and maintain, and require the Network to obtain and maintain, during the term of this
 Agreement the following types 0f insurance, in amounts not less than the following: (i) statutory worker’s compensation
 and employer’s liability in the amount of not less than $500,000 per occurrence; (ii) commercial general liability in the
 amount of not less than $1,000,000 combined single limit per occurrence; and (iii) commercial crime/fidelity insurance
 covering employee dishonesty in the amount of not less than $1,000,000 per loss.


 15.     Governing Law; Forum; Jury Waiver


 This    Agreement        will   be governed by and construed   in   accordance with the laws of the state of Texas, without regard to
 conflict of laws principles thereof.           Any   action or proceeding arising out of this          Agreement        will   be    litigated in courts

 located    in   the state of Texas. Each Party consents and submits to the exclusive jurisdiction of any state or federal court
 located    in   Alachua County, Florida (or a federal court for the         district     encompassing such county).


 16.     Survival


 The     Parties       acknowledge and agree that the agreements, representations, warranties and indemnities contained                                  in

 Sections 4, g, Z,        g —    1_8 and
                                 ﬂ,        ﬂ
                                          shall survive the termination of this Agreement.



 17.     Entire    Agreement

 This Agreement, which incorporates and includes any attached Schedules,  addenda and exhibits hereto, shall be binding
 upon and inure to the benefit of Company and Direct Seller, their respective legal representatives, successors, and
 permitted assigns. This Agreement contains the entire understanding between Company and Direct Seller with respect
 to the subject matter hereof, and supersedes all prior agreements and understandings, inducements, or conditions,
 express or implied, oral or written, except as herein contained. The express terms hereof control and supersede any
 course of performance and/or usage of the trade inconsistent with any of the terms hereof.




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 18.    Assignment


 Neither Party       may   assign this   Agreement without the    prior written consent of the other, except to a person into               which
 it   has merged or which has otherwise succeeded to            all   or substantially   all   of such Party’s business     and assets to which
 thisAgreement pertains and which has assumed in writing or by operation of law its obligations under this Agreement.
 Any attempted assignment in violation ofthe provisions ofthis provision will be void. Providing however, that Company
 hereby acknowledges and confirms that certain of the obligations to be performed by Direct Seller pursuant to this
 Agreement will be assigned to the Networkfrom time to time as Direct Seller, in its discretion, may determine as defined
 above.


 19.    Severability


 If   any provision of     this   Agreement, or the application thereof to any person or circumstance,                   shall   be held invalid or
 unenforceable under any applicable law, such invalidity or unenforceability                     shall   not affect any other provision of this
 Agreement that can be given             effect without the invalid or unenforceable provision, or the application of such provision
 to other persons or circumstances, and, t0 this end, the provisions hereof are severable.                        In   the event that a court of
 competent             determines by final judgment that the scope, time period, or geographical limitations of the
               jurisdiction
 covenants set forth herein are too broad to be capable of enforcement, said court is authorized t0 modify said
 covenants and enforce such provisions as to scope, time, and geographical area as the court deems equitable.


 20.    Counterparts; Facsimile Signatures


 This   Agreement may be signed in counterparts, each of which will be considered an original and a|| of which together
 will           one and the same agreement. Facsimile transmission of any signed original document will be the same
        constitute
 as delivery of an original.




                                                           [Signature   Page Follows]




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                                                                             Aug29, 2018
 IN   WITNESS WHEREOF, the   Parties have executed this   Agreement   this                     day of             2018.


                                                                        Dynamis Energy, LLC dba United Energy
                                                                        Services




                                                                        By:

                                                                              Name:
                                                                              Title:




                                                                             US Energy Solutions           Inc.




                                                                        By:5e     emA      ,
                                                                                               1s;




                                                                              Name: serghei
                                                                              Title;       CEO/OWBER




                                        [Signature Page to Direct Sales Agreement]


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                                                                           SCHEDULE A

                                                              Compensation Rate- Residential


            Product Sales that are accepted or                     deemed accepted by Company           shall   be compensated as follows:

                                -
            Single sale          $70      total   payout
                            -
            Dual Sale           $115      total   payout


            Up front payment shall be made the week following Provider’s receipt and acceptance of the New
            Customer’s Contract, after Provider pays Company. For instance, any accepted deals sold from June 13th
            (Monday) —June                 19th (Sunday)    would pay out on June          24th (the next Friday).



            Residential Clawback
            In   the event that a residential            New Customer Contract is cancelled or terminated within 3O days of the
            utility   acceptance date for a             New Customer Contract, Company reserves the right to claw back the entire
            commission paid for such                  New Customer Contract. If Company seeks a claw back, Direct Seller. agrees to
            reimburse or offset the amount sought within 14 days of the request                            less   any amounts owed by Company
            to Direct Seller.


            At any time, Sales generated by Direct Seller that are alleged to be fraudulent or deceptive                                will   be removed
            from invoice and such commission payments                          shall   not be due with respect to such Sales (or        will   be refunded,
            as applicable) not matter the time that has passed since such fraudulent sale.


            For any        new      offices that     stem from the organic promotion or           direct relationship   from Direct      Seller, Direct

            Seller will receive            4%     of the total sales commission, excluding bonuses or incentives,             from such        office. After

            four such offices are derived from Direct Seller,                    in    addition to Direct Seller’s immediate office, Direct Seller
            will   receive          5%   of the total sales commission, excluding bonuses or incentives, from such offices                      on   a   weekly
            basis.    If   the total office count          falls   below   four, excluding Direct Seller’s      immediate   office,   the overrides       will

            revert back to 4%.




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                                                    SCHEDULE B
                                    Non-Exclusive Territory/Market Assignments




            Residential:
            Philadelphia,   PA
            Other pre-approved areas throughout the US




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                                     SCHEDULE C
                                     Trademarks



            UN_ITED
            Emmy Services




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                                                                              Residual           Addendum


 Once an          office hits    600 accepted accounts            in a   calendar month (based on 12 calendar months- beginning on the lst
 and ending the           last   day of the month), they              will    be   eligible to start to         accrue and receive residual commissions of
 30.0005 per kwh for each electric account that’s signed up, stays with Constellation and pays their monthly                                                           bill   (on
 time).


 Any    office      owner who personally promotes a lst generation office or is responsible for bringing on a new office and
 those offices        hit the minimum threshold will receive 50.0005 per kwh for each electric account that is signed up by

 the particular office (accredited to them), stays with Constellation and pays their monthly                                              bill   (on time).     It’s   up to UES,
 in   conjunction with others,              who     is   credited/paid for bringing on a                    new   office.



 If   an office doesn’t          hit    600 accepted accounts (400 for any owner open as of 5/1/2017) in a calendar month, residual
 commissions           will   be suspended       until the minimum threshold is met. Residuals that were to be paid during that time

 will   be   lost   but   will   commence       after the office hits the                 600 (400 for those ”grandfathered" as of 5/1/2017) accepted
 deals    in a     calendar month. Both the office owner and the promoting owner who’s receiving overrides, where
 applicable, will be subject to this clause                     and   will lose      the residual pay on the corresponding office                      until   the   minimum
 thresholds are met.


 Any    residual revenues are solely for accepted electric accounts.; not gas.                                         However, both     fuels   count towards the
 minimum           threshold of 600 accepted accounts closed during a calendar                                     month from an       office. Residual        revenues        will

 be paid out once per month.


 Residual revenues are for the                 life     of a customer's account with Constellation, so long as 1) customer remains                                       in   good
 standing (current with payment) and on flow 2) office                                    hits   the   minimum         threshold of 600 accepted accounts closed
 the previous calendar month.                  If   a    customer doesn't pay, UES                 isn't paid,    so the residual wouldn’t be paid either.


 Residual pay         comes around 90 days                 after an accepted electric account                     is   sold (the   customer has to change to
                                        and then pay their bill in full) and the revenue stream is designed to build
 Constellation, receive service for 30 days
 over time as more accounts are added and paid on assuming minimum thresholds are met the previous calendar
 month.


 Residual revenues will remain                 in       place as long as the customer                  is   current and on flow with Constellation and the
 owner       is   exclusively a part of the             UES   sales network.         If   an owner leaves the UES sales network, they are due no
 further residual revenues/payouts.


 This   is all    subject to change upon                UES   notification. Residual              payments cease          ifthis   agreement     is   breached by       a

 particular office/owner or Constellation takes                   away from UES. This agreement is separate from other agreements
                                                                         it


 previously signed and agreed to                    between the independently owned sales company (office) and/or office owner and
 UES.




 Initials                        /B.s
                                                                Confidential and Proprietary                                                                                          4
Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20                                                      Page 26 of 42 PageID 72


                                                                 Financial Release


 Direct Seller granst   Company the          right to receive   and review      all   corporate documents from the   listed   company
 weekIy/monthly. These required financial documents will be sent to financialreporting@unitedenergvservices.com by
 COB each Thursday for the previous week's financials.
            Weekly     Profit   and   loss   statement
            Year to date statement
            Balance sheet

            Weekly cash report
            Monthly business bank statements, checking and or savings
            Current certificates of coverage for general            liability   and workers compensation with $1 million minimum
            policies



 By my initials below, attest to the accuracy of the information contained in the above-Iisted financial information,
                          |




 and represent and warrant to UES that all information provided pursuant to this agreement shall fairly and accurately
 present the financial condition and results of operations and cash flow of operation of the                  Company         as of the dates
 and for such periods     listed   on such documents.


 The owner   is   required to update UES with the current contact information on the person or                 company         responsible for
 reporting the above documents. The provider              is   authorized t0 answer questions by UES representative related to
 information provided on above documents. Questions can include but are not limited to payroll details, confirmation
 of corporate tax filings      and payment, changes       in financial   situation      and payments to or from shared    office tenants    and
 USEFS.




                        /B-S
 Initials                                           Confidential and Proprietary                                                                 5
Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20   Page 27 of 42 PageID 73




                                  2
                                                                                                                                              FILED
2 CIT   ES                                                                                                                        DALLAS COUNTY
                                                                                                                                  12/2/2019 4:14   PM
               Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20                             Page 28 of 42 PageID 74                  FELICIA PITRE
                                                                                                                                  DISTRICT CLERK

                                                                                                                            Kayla Buckley


             DUNN SHEEHAN LLP   |

                                                                                                     3400 Carlisle St, Ste. 200
                                                                                                         Dallas, Texas 75204
             Michelle Yelle                                                                                        214.855.0077
             myelle@durmsheehan.c0m                                                                            214.866.0070 fax




                                                                December 2, 20 1 9


             Dallas County District Clerk                                                             Via Electronic Filing
             George Allen Courts Building
             600 Commerce Street, Suite 103
             Dallas, Texas 75202


                       Re:      Dynamis Energy LLC d/b/a United Energy Services, Inc. v. US Energy Solutions,
                                Inc. and Serghei Busmachiu Cause N0. DC—19-1 8533, 14th Judicial District

                                Court, Dallas County, Texas


             Dear Clerk,

                       On November         19,   2019,   we    ﬁled   Plaintiff’s Original Petition in the   above—referenced
             matter.   We are requesting citations be issued for service on the following:

                       Defendant      US
                                      Energy Solutions, Inc.
                       1080 N. Delaware Avenue #5 11
                       Philadelphia, Pennsylvania 1 9 1 25


                       and

                       Defendant Serghei Busmachiu
                       1080 N. Delaware Avenue #5 11
                       Philadelphia, Pennsylvania        1   9 1 25


                       Please   let   me know if you have       any questions. Thank you for your assistance.

                                                                              Very truly yours,



                                                                              /s/ Michelle Yelle
                                                                              Michelle Yelle
                                                                              Litigation Paralegal
Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20   Page 29 of 42 PageID 75




                                  3
                             Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20                                                      Page 30 of 42 PageID 76



FORM NO. 353-3 CITATION               -                                                                                                                                ESERVE
THE STATE OF TEXAS                                                                                                                                                 CITATION
To:    SERGHEI BUSMACHIU
       1080   N DELAWARE AVE #511                                                                                                                                  DC-19-18533
       PHILADELPHIA PA                    19125

GREETINGS:                                                                                                                                                     DYNAMIS ENERGY LLC
You have been        You may employ an attorney. If you or your attorney d0 not ﬁle a written
                    sued.
                                                                                                                                                                           Vs.
Answer with the clerk who issued this Citation by 10 o'clock a.m. 0f the Monday next following the                                                          US ENERGY SOLUTIONS INC,      et al
expiration 0f twenty days after you were served this citation and petition, a default judgment may be
taken against you.       Your answer should be addressed                   to the clerk         of the 14th District Court          at   600
Commerce       Street, Ste. 101, Dallas,          Texas 75202.                                                                                                      ISSUED THIS
                                                                                                                                                              5th day of December, 2019
Said Plaintiff being      DYNAMIS ENERGY LLC

Filed in said Court 19th         day of November, 2019                  against                                                                                  FELICIA PITRE
                                                                                                                                                               Clerk District Courts,
US ENERGY SOLUTIONS INC AND SERGHEI BUSMACHIU                                                                                                                  Dallas County, Texas


For    Suit, said suit   being numbered DC-19-18533, the nature of which demand                              is   as follows:
Suit   on   CNTR CNSMR COM DEBT etc.                           as   shown 0n    said petition, a      copy of Which accompanies                this   By:   CARLENIA BOULIGNY, Deputy
citation.    If this citation   is   not served,      it   shall   be returned unexecuted.
                                                                                                                                                               Attorney for Plaintiff
WITNESS: FELICIA PITRE,            Clerk 0f the District Courts 0f Dallas, County Texas.                                                                      WILLIAM DAVID DUNN
Given under      my   hand and the Seal of said Court at ofﬁce this 5th day of December, 2019.                                                                 DUNN SHEEHAN LLP
                                                                                                                                                               3400 CARLISLE STREET
ATTEST: FELICIA PITRE,                    Clerk of the District Courts of Dallas, County, Texas                         “hump",
                                                                                                                                                                      SUITE 200
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                                           CARLENIA BOULIGNY                                                           “nu..."mw‘
                                                                                                                                                              ddunn@dunnsheehan.c0m

                                                                                                                                                                DALLAS COUNTY             —
                                                                                                                                                                 SERVICE FEES
                                                                                                                                                                     HOT PAID
                    Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20               Page 31 of 42 PageID 77



                                                    OFFICER'S RETURN
Case No. : DC-19-18533
Court No.14th District Court
Style: DYNAMIS ENERGY LLC
 Vs.
US ENERGY SOLUTIONS INC, et al
Came to hand on the ________________day of __________________, 20_________, at __________o'clock _________.M. Executed
at ______________________________, within the County of __________________________ at ____________ o'clock _______ .M.
on the ________________day of_________________________________________, 20_______________, by delivering to the within
named ____________________________________________________________________________________________________
____________________________________________________________________________________________________________
Each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date
of delivery. The distance actually traveled by me in serving such process was _________miles and my fees are as follows: To certify
which witness my hand.

              For serving Citation $__________             _______________________________________________
              For mileage           $__________            of __________________County, ____________________
               For Notary            $__________            by ______________________________________Deputy
                                      (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said __________________________before me this _______day of _____________________,
20_______, to certify which witness my hand and seal of office.


                                                                  _____________________________________________________

                                                                  Notary Public ___________________County_________________
Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20   Page 32 of 42 PageID 78




                                  4
                             Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20                                                      Page 33 of 42 PageID 79



FORM NO. 353-3 CITATION               -                                                                                                                                ESERVE
THE STATE OF TEXAS                                                                                                                                                 CITATION
T0:    US ENERGY SOLUTIONS INC
       1080   N DELAWARE AVE #511                                                                                                                                  DC-19-18533
       PHILADELPHIA PA                    19125

GREETINGS:                                                                                                                                                     DYNAMIS ENERGY LLC
You have been        You may employ an attorney. If you or your attorney d0 not ﬁle a written
                    sued.
                                                                                                                                                                           Vs.
Answer with the clerk who issued this Citation by 10 o'clock a.m. 0f the Monday next following the                                                          US ENERGY SOLUTIONS INC,      et al
expiration 0f twenty days after you were served this citation and petition, a default judgment may be
taken against you.       Your answer should be addressed                   to the clerk         of the 14th District Court          at   600
Commerce       Street, Ste. 101, Dallas,          Texas 75202.                                                                                                      ISSUED THIS
                                                                                                                                                              5th day of December, 2019
Said Plaintiff being      DYNAMIS ENERGY LLC

Filed in said Court 19th         day of November, 2019                  against                                                                                  FELICIA PITRE
                                                                                                                                                               Clerk District Courts,
US ENERGY SOLUTIONS INC AND SERGHEI BUSMACHIU                                                                                                                  Dallas County, Texas


For    Suit, said suit   being numbered DC-19-18533, the nature of which demand                              is   as follows:
Suit   on   CNTR CNSMR COM DEBT etc.                           as   shown 0n    said petition, a      copy of Which accompanies                this   By:   CARLENIA BOULIGNY, Deputy
citation.    If this citation   is   not served,      it   shall   be returned unexecuted.
                                                                                                                                                               Attorney for Plaintiff
WITNESS: FELICIA PITRE,            Clerk 0f the District Courts 0f Dallas, County Texas.                                                                      WILLIAM DAVID DUNN
Given under      my   hand and the Seal of said Court at ofﬁce this 5th day of December, 2019.                                                                 DUNN SHEEHAN LLP
                                                                                                                                                               3400 CARLISLE STREET
ATTEST: FELICIA PITRE,                    Clerk of the District Courts of Dallas, County, Texas                         “hump",
                                                                                                                                                                      SUITE 200
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                                                                                                                                                                    214-866-0077

                                           CARLENIA BOULIGNY                                                           “nu..."mw‘
                                                                                                                                                              ddunn@dunnsheehan.c0m

                                                                                                                                                                DALLAS COUNTY             —
                                                                                                                                                                 SERVICE FEES
                                                                                                                                                                     HOT PAID
                    Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20               Page 34 of 42 PageID 80



                                                    OFFICER'S RETURN
Case No. : DC-19-18533
Court No.14th District Court
Style: DYNAMIS ENERGY LLC
 Vs.
US ENERGY SOLUTIONS INC, et al
Came to hand on the ________________day of __________________, 20_________, at __________o'clock _________.M. Executed
at ______________________________, within the County of __________________________ at ____________ o'clock _______ .M.
on the ________________day of_________________________________________, 20_______________, by delivering to the within
named ____________________________________________________________________________________________________
____________________________________________________________________________________________________________
Each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date
of delivery. The distance actually traveled by me in serving such process was _________miles and my fees are as follows: To certify
which witness my hand.

              For serving Citation $__________             _______________________________________________
              For mileage           $__________            of __________________County, ____________________
               For Notary            $__________            by ______________________________________Deputy
                                      (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said __________________________before me this _______day of _____________________,
20_______, to certify which witness my hand and seal of office.


                                                                  _____________________________________________________

                                                                  Notary Public ___________________County_________________
Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20   Page 35 of 42 PageID 81




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                                                                                                                                                                                                                 FILED
                                                                                                                                                                                                     DALLAS COUNTY
                                                                                                                                                                                                   12/16/2019 10:37 AM
                          Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20                                                                  Page 36 of 42 PageID 82                                     FELICIA PITRE
                                                                                                                                                                                                      DISTRICT CLERK

                                                                                                                                                                                                         Felicia Pitre


FORM NO. 353-3 CITATION             —                                                                                                                                         ESERVE
THE STATE OF TEXAS                                                                                                                                                      CITATION
T0:   SERGHEI BUSMACHIU
      1080 N DELAWARE AVE #511                                                                                                                                          DC-19—18533
      PHILADELPHIA PA 19125

GREETINGS:                                                                                                                                                        DYNAMIS ENERGY LLC
You have been     sued.    You may employ an attorney.               If you   or your attorney do not ﬁle a written
                                                                                                                                                                                Vs.
Answer with     the   clerk who issued this citation by 10           o‘clock a.m. ofthe      Monday     next following the                                    US ENERGY SOLUTIONS INC,           et al
expiration of twenty days after you were served this citation and petition, a defaultjudgment may be
taken against you. Your answer should be addressed t0 the clerk of the 14th District Court at 600
Commerce Street, Ste. IO], Dallas, Texas 75202.                                                                                                                         ISSUED THIS
                                                                                                                                                                5th day of December, 2019
Said Plaintiffbeing      DYNAMIS ENERGY LLC

Filed in said Court 19th       day of November, 2019 against                                                                                                       FELICIA PITRE
                                                                                                                                                                 Clerk District Courts,
US ENERGY SOLUTIONS INC                       AND SERGHEI BUSMACHIU                                                                                              Dallas County, Texas


For   Suit, said suit   being numbered DC-l9-18533, the nature of which demand                     is   as follows:
Suit on   CNTR CNSMR COM DEBT etc.                        as   shown on   said petition, a   copy of which accompanies                          this    By:   CARLENIA BOULIGNY,              Deputy
citation.   lfthis citation   is   not served.   it   shall   be returned unexecuted.
                                                                                                                                                                 Attorney for Plaintiff
WITNESS: FELICIA PITRE, Clerk ofthe District Courts of Dallas, County Texas.                                                                                     WILLIAM DAVID DUNN
Given under my hand and the Seal of said Court at ofﬁce this 5th day of December,                               2019.                                             DUNN SHEEHAN LLP
                                                                                                                                                                 3400   CARLISLE STREET
ATTEST: FELICIA PITRE,                  Clerk of the District Courts of Dallas, County, Texas                     “‘“.‘.|-“-‘-«‘-;..,,,II                                 SUITE 200
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                              By
                                         CARLENIA BOULIGNY
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                                                                                                                                                                ddunn@dunnshcchan.com

                                                                                                                                                                  DALLAS COUNTY                   —
                                                                                                                                                                   SERVICE FEES
                                                        See A ttached                                                                                                     NOT PAID

                                                               Declara tion
             Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20                                                           Page 37 of 42 PageID 83


                                                                      RETURN OF SERVICE

State of Texas                                                             County of Dallam                                                        14th District Court

Case Number: DC-1 9-1 8533

Plaintiff:

DYNAMIS ENERGY LLC
VS‘

Defendant:
US ENERGY SOLUTIONS                INC. et   al.


For‘
William David  Dunn
Dunn Sheehan. LLP
3400 Carlisle Street
Ste,   200
Dallas.   TX 75204

Received by Travis Wyatt on the 10th day of December, 2019                               at 12:48 prn to        be served on SERGHEI BUSMACHIU.

l.   Travis Wyatt.    do hereby   affirm that   on the 11th day of December. 2019                          at   10:56 am,         I:




delivered two true       and correct copies        of this      CITATION, with attached PLAINTIFF'S ORIGINAL PETITION                                   AND
APPLICATION FOR INJUNCTIVE RELIEF,                endorsing the date of delivery thereon, to SERGHEI BUSMACHIU, by
                                                                 after
delivering to the Texas Secretary of State - Citations Unit. Accepted by Michelle Robinson. Citation Unit Clerk. in
person. at: 1019 Brazos Street, Room 106, Austin, Travis County, TX 78701. An administrative fee of $55 was also
tendered


My name    Travis Wyatt. my date of birth is 10/20/1 971 and my address is 1 Chisholm Trail Ste. 450. Round Rock TX
             is
78681     USA declare under enalty of erjury that the foregoing Is true and correct Executed In Williamson County State of
                  |




Texas on the [2; 5—day of            bﬂév               [ﬂ        .
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                                                                                                            Falcon Document Solutions
                                                                                                            301 Commerce Street
                                                                                                            Suite 240
                                                                                                            Fort Worth, TX 761 02
                                                                                                            (817) 509-61 27

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Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20   Page 38 of 42 PageID 84




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                                                                                                                                                                                                 12/16/2019 10:37 AM
                           Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20                                                              Page 39 of 42 PageID 85                                      FELICIA PITRE
                                                                                                                                                                                                    DISTRICT CLERK

                                                                                                                                                                                                       Felicia Pitre


FORM NO. 353-3 CITATION              -                                                                                                                                      ESERVE
THE STATE OF TEXAS                                                                                                                                                        CITATION
T0:    US ENERGY SOLUTIONS INC
       1080 N DELAWARE AVE #511
                                                                                                                                                                       DC-19-18533
       PHILADELPHIA PA 19125

GREETINGS:                                                                                                                                                          DYNAMIS ENERGY LLC
You have been        You may employ an attorney. lfyou or your attorney do not ﬁle a written
                   sued.                                                                                                                                                       Vs.
Answer with the clerk who issued this citation by 10 o'clock a.m. ofthe Monday next following the                                                               US ENERGY SOLUTIONS INC,       et al
expiration of twenty days after you were served this citation and petition, a defaultjudgment may be
taken against you. Your answer should be addressed to the clerk of the 14th District Court                                         at        600
Commerce       Street, Ste. IOI, Dallas,       Texas 75202.                                                                                                               ISSUED THIS
                                                                                                                                                                  5th day of December, 2019
Said Plaintiffbeing       DYNAMIS ENERGY LLC

Filed in said Court 19th        day of November, 2019 against                                                                                                        FELICIA PITRE
                                                                                                                                                                   Clerk District Couns,
US ENERGY SOLUTIONS INC AND SERGHEI BUSMACHIU                                                                                                                      Dallas County, Texas


For    Suit, said suit   being numbered DC—19-18533, the nature ofwhich                   demand    is   as follows:
Suit   on   CNTR CNSMR COM DEBT etc.                      as   shown on    said petition, a   copy of which accompanies                            this   By:   CARLENIA BOULIGNY,          Deputy
citation.    Ifthis citation   is   not served.   it   shall be returned   unexecuted.
                                                                                                                                                                   Attorney for Plaintiff
WITNESS: FELICIA PITRE, Clerk ofthe District Courts of Dallas, County Texas.                                                                                       WILLIAM DAVID DUNN
Given under my hand and the Seal of said Court at ofﬁce this 5th day of December,                                2019.                                              DUNN SHEEHAN LLP
                                                                                                                                                                   3400   CARLISLE STREET
ATTEST: FELICIA PITRE,


                               By
                                         (912/1224       p
                                          CARLENIA BOULIGNY
                                                               ﬂW
                                         Clerk 0f the District Courts of Dallas, County, Texas
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                                                                                                                                                                     DALLAS TX      75204
                                                                                                                                                                          214-866-0077
                                                                                                                                                                  ddunn@dunnshcchan.com

                                                                                                                                                                    DALLAS COUNTY               —
                                                                                                                                                                     SERVICE FEES
                                            See A ttached                                                                                                                  NOT PAID


                                               Declara tion
             Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20                                                  Page 40 of 42 PageID 86


                                                        RETURN OF SERVICE

State of Texas                                                 County of Dallam                                                                14th District Court


Case Number: DC-19-18533

Plaintiff:

DYNAMIS ENERGY LLC
VS.

Defendant:
US ENERGY SOLUTIONS           INC, et   al.


For:
            Dunn
William David
Dunn Sheehan, LLP
3400 Carlisle Street
Ste. 200
Dallas, TX 75204


Received by Travis Wyatt on the 10th day of December, 2019                    at 12:48         pm   to   be served on US               ENERGY SOLUTIONS     INC.


l.   Travis Wyatt. do hereby afﬁrm that on the 11th       day of December, 2019                     at   10:56 am,         l:




delivered two true  and correct copies of this CITATION, with attached PLAINTIFF’S ORIGINAL PETITION AND
APPLICATION FOR INJUNCTIVE RELIEF, after endorsing the date of delivery thereon. to US ENERGY SOLUTIONS
INC, by delivering to the Texas Secretary of State - Citations Unit. Accepted by Michelle Robinson, Citation Unit Clerk,
in person, at: 1019 Brazos Street, Room 106, Austin, Travis County, TX 78701. An administrative fee of $55
                                                                                                             was also
tendered



My name

                            aw
         is TraVIs Wyatt, my date of birth is 10/20/1971, and my address is 1 Chisholm Trail. Ste. 450. Round Rock,
                                                                                                                    TX
78681. USA. declare under penalty of erjury that the foregoing is true and correct. Executed in Williamson County, State of
                I



Texas. on the 12‘" day                                   mm               ‘




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                                                                                                     PSC4959
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                                                                                                     Falcon Document Solutions
                                                                                                     301 Commerce Street
                                                                                                     Suite 240
                                                                                                     Fort Worth.           TX 76102
                                                                                                     (817) 509-6127

                                                                                                     Our Job         Serial      Number: WYT-2019000948


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Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20   Page 41 of 42 PageID 87




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  Case 3:20-cv-00073-S Document 1-5 Filed 01/13/20                            Page 42 of 42 PageID 88



                                          14TH JUDICIAL DISTRICT COURT
                                        GEORGE L. ALLEN COURTS BUILDING
                                                 600   COMMERCE STREET
                                                DALLAS, TEXAS 75202-4604
                                                                                  January 07, 2020



File    Copy


DC-19-18533
DYNAMIS ENERGY LLC                 vs.   US ENERGY SOLUTIONS       INC,   et a1




ALL COUNSEL OF RECORD AND PRO SE PARTIES:

The above case is set for dismissal, pursuant t0 Rule 165A, Texas Rules 0f Civil procedure and pursuant
              power 0f the Court, on:
to the inherent


           February   14,   2020   at   11:00   AM
If no   answer has been ﬁled you are expected t0 have moved for a default judgment on or prior       to that
date.   Your failure t0 have done s0 Will result in the dismissal 0f the case 0n the above date.

If youhave been unable t0 obtain service 0f process and you Wish t0 retain the case on the docket, you
must appear 0n the above date, unless you have obtained a new setting from the court coordinator.




                                                               Sincerely,




                                                               ERIC V. MOYE, DISTRICT JUDGE
                                                               14TH DISTRICT COURT
                                                               Dallas County, Texas
Cc:
 WILLIAM DAVID DUNN
 3400 CARLISLE STREET
 SUITE 200
 DALLAS TX 75204
